 

Case 2:11-CV-02015-TSZ Document 24 Filed 03/22/12 Page 1 of 1

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ll-CV-UZOIS-EXH

UN|TED STATES D|STR|CT COURT
WESTERN D|STRiCT OF WASH|NGTON

Esection systems & Sofiware, LLC,

)
)

P|aintiff, ) JAN|S Ref No. 1160018666
) Cause No. CV-02015 TSZ

v. ) NOT|CE OF OCCURRENCE
) OF ALTERNAT|VE D|SPUTE
King County, ) RESOLUT|ON

)

Defendant. )
)

 

Pursuant to CR 39.1(¢:)(6) notice is hereby given that on Niarch 12, 2012 the parties
participated in a mediation. The case is now resolved

DATED this ag day Of March, 2012.

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fudge Terry l ker`i"s (Ret.')
Mediator

 

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RF,F,`.FWF.E|

 

 

 

 

 

 

MAR 22 2012

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